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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

VANCE DOTSON,                                         )
                                                      )
                      Plaintiff,                      )
                                                      )
v.                                                    )    Case No. CIV-22-029-D
                                                      )
TRANSWORLD SYSTEMS, INC., et al.,                     )
                                                      )
                      Defendants.                     )


                                          ORDER

       Upon review of Defendant Healthcare Revenue Recovery Group, LLC’s Disclosure

Statement [Doc. No. 24] filed pursuant to Fed. R. Civ. P. 7.1.1, the Court finds that the

statement is incomplete and additional information is needed.

       Defendant Healthcare Revenue Recovery Group, LLC d/b/a ARS Account

Resolution Services states that its sole member is HCFS Health Care Financial Services,

LLC. To provide full disclosure where a member of an LLC is another LLC, the members

of the constituent LLC must be identified as well. See Thomas v. Guardsmark, LLC, 487

F.3d 531, 534 (7th Cir. 2007) (“an LLC’s jurisdictional statement must identify the

citizenship of each of its members as of the date the complaint or notice of removal was

filed, and, if those members have members, the citizenship of those members as well”).1

       IT IS THEREFORE ORDERED that Defendant Healthcare Revenue Recovery

Group, LLC is directed to file an amended disclosure statement within 7 days of this Order.


       1
           Because federal jurisdiction is not based on diversity of citizenship, the disclosure
statement need not state the citizenship of Defendant’s members, but all constituent members must
be identified to permit an assessment of any conflict of interest.
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IT IS SO ORDERED this 22nd day of March, 2022.




                                  TIMOTHY D. DeGIUSTI
                                  Chief United States District Judge
